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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1537V
                                    Filed: December 7, 2017
                                         UNPUBLISHED


    SHERI ROCCA,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Bruce William Slane, Law Office of Bruce W. Slane, P.C., White Plains, NY, for
petitioner.
Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On November 17, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) in her left shoulder following receipt of an influenza (“flu”)
vaccination on November 16, 1015. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

      On August 7, 2017, a ruling on entitlement was issued, finding petitioner entitled
to compensation for SIRVA. On December 7, 2017, respondent filed a proffer on award
of compensation (“Proffer”) indicating petitioner should be awarded a total of
$167,293.39, representing $50,575.66 in compensation for lost earnings, $110,000.00

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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in compensation for pain and suffering, and $6,717.73 in compensation for past
unreimbursable expenses. Proffer at 1-2. In the Proffer, respondent represented that
petitioner agrees with the proffered award. Based on the record as a whole, the
undersigned finds that petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $167,293.39, representing $50,575.66 in
compensation for lost earnings, $110,000.00 in compensation for pain and
suffering, and $6,717.73 in compensation for past unreimbursable expenses, in
the form of a check payable to petitioner, Sheri Rocca. This amount represents
compensation for all damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS

                                                    )
 SHERI ROCCA,                                       )
                                                    )
                    Petitioner,                     )
                                                    )    No. 16-1537V
 v.                                                 )    Chief Special Master Dorsey
                                                    )    ECF
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
                    Respondent.                     )
                                                    )
                                                    )

                 RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Items of Compensation

          A.       Lost Earnings

          The parties agree that based upon the evidence of record, Sheri Rocca has suffered past

and future loss of earnings as a result of her vaccine-related injury. Therefore, respondent

proffers that the Court should award Sheri Rocca a lump sum of $50,575.66 for her past and

future lost earnings as provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(A).

Petitioner agrees.

          B.       Pain and Suffering

          Respondent proffers that Sheri Rocca should be awarded $110,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.
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         C.       Past Unreimbursable Expenses

         Evidence supplied by petitioner documents Sheri Rocca’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent proffers that

petitioner should be awarded past unreimbursable expenses in the amount of $6,717.73, as

provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.      Form of the Award

         Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to Sheri Rocca should be made through

a lump sum payment as described below and requests that the Chief Special Master’s decision

and the Court’s judgment award the following1: a lump sum payment of $167,293.39,

representing compensation for lost earnings ($50,575.66), pain and suffering ($110,000.00), and

past unreimbursable expenses ($6,717.73), in the form of a check payable to petitioner, Sheri

Rocca.

III.     Summary of Recommended Payments Following Judgment

         Lump sum payable to petitioner, Sheri Rocca:                                $167,293.39

                                               Respectfully submitted,

                                               CHAD A. READLER
                                               Principal Deputy Assistant Attorney General

                                               C. SALVATORE D’ALESSIO
                                               Acting Director
                                               Torts Branch, Civil Division

                                               CATHARINE E. REEVES
                                               Deputy Director
                                               Torts Branch, Civil Division


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                  2
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                                  ALEXIS B. BABCOCK
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  s/ Sarah C. Duncan
                                  Sarah C. Duncan
                                  Trial Attorney
                                  Torts Branch, Civil Division
                                  U.S. Department of Justice
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DATED: December 7, 2017




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